Case 2

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Attorneys for Plaintiff
STEVEN BENHAYON

STEVEN BENHAYON, an Individual,
Plaintiff,
VS.

ROYAL BANK OF CANADA, a Canadian|
company, business form unknown; RBC
WEALTH MANAGEMENT COMPANY,
formerly RBC DAIN RAUSCHER, INC.,
business form unknown; THE ROYAL
BANK OF CANADA US WEALTH
ACCUMULATION PLAN, formerly known
as RBC Dain’ Rauscher Wealth
Accumulation Plan; and, DOES 1 through
20,

Defendants.

 

 

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BOHM, MATSEN, KEGEL & AGUILERA, LLP

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No.: CV08-06090 FMC (AGRx)
Assigned to Hon. Florence-Marie

Cooper [Courtroom 750 (Roybal)]

PLAINTIFE’S SEPARATE
STATEMENT OF GENUINE ISSUES
OF MATERIAL FACT AND
SUPPORTING EVIDENCE

[Filed concurrently with Plaintiff's
Reply Brief Re: ERISA Issues

and Plaintiff's Response to Defendants’
Separate Statement of Uncontroverted
Facts and Conclusions of Law]

DATE: Not set.
TIME: Not set.
CTRM: Not set.

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:
Plaintiff STEVEN BENHAYON hereby submits the following Separate
Statement of Genuine Issues Facts of Material Fact and Supporting Evidence in

opposition to Defendants’ Motion for Partial Summary Judgment as follows.

 

 

PLAINTIFF’S SEPARATE STATEMENT OF GENUINE ISSUES OF MATERIAL FACT
AND SUPPORTING EVIDENCE

 
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PRELIMINARY STATEMENT

On July 31, 2009, Plaintiff filed an Ex Parte Application for an Order
Continuing the ERISA Reply Brief Due Date, or, in the Alternative, for an Order
Shortening Time To Depose RBC’s PMK and Shortening Time for RBC to Respond
to Request for Production of Documents at Time of PMK Deposition. In a good faith
effort to comply with this Court’s Simultaneous Briefing Order and to preserve its
rights in this litigation, Plaintiff hereby submits this Separate Statement of Genuine
Issues Facts of Material Fact and Supporting Evidence in opposition to Defendants’
Motion for Partial Summary Judgment. In so doing, Plaintiff does not waive its rights

or arguments contained in the Ex Parte Application.

 

       

 

 

‘I. RBC does not dispute that the | Defendants’ Notice of Motion and _

WAP is an “employee benefit plan” Motion for Partial Summary Judgment

within the meaning of Section 3(2) of on Plaintiff's Claim for benefits under

ERISA, 29 U.S.C. § 1002(2). the Royal Bank of Canada US Wealth
Accumulation Plan (“Defendants’ MSJ”)
2:21-3:2.

2. The WAP is notatophatplanas {SAA 056 through SAA 072; AA 010

defined by 29 U.S.C. §§ 1051(2), through AA 028; AA 030 through AA

1081(a)(3), and 1101{a)(1). 047.

 

3. The WAP covered approximately | AA 009.
1,200 employees.

 

 

 

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PLAINTIFF’S SEPARATE STATEMENT OF GENUINE ISSUES OF MATERIAL FACT
AND SUPPORTING EVIDENCE

 

 

 
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ELAINTIEW Ss GENUINE ISSUES.OF |

 

  

‘SUPPORTING EVIDENCE ~~

 

 

Steven Benhayon was a sales

4,

] Declaration of Christopher W. Decker in

 

required to defer compensation to his
WAP account in order to receive

company matchings.

employee of RBC. Support of Defendants’ MSJ, J 2,
Exhibit A, pages 2 through 8.
5. In 2003, Steven Benhayon was SAA 056 through SAA 072

 

6.

required to defer compensation to his

In 2003, Steven Benhayon was

WAP account in order to receive a WAP

Production Bonus.

SAA 0057-SAA 00061.

 

7. In 2003, Steven Benhayon
deferred 20 percent of his compensation

to the WAP in order to receive benefits
from RBC.

SAA 0057-SAA 00061; AA 0002.

 

8. Steven Benhayon’s WAP
Production Bonus was due to vest on

January 1, 2008.

SAA 00048-00051; SAA 00056-00072.

 

9.
Variable Match was due to vest on
January 1, 2008.

Steven Benhayon’s Company

SAA 00048-00051; SAA 00056-00072.

 

10. On September 17, 2007, Steven
Benhayon was terminated from

employment with RBC involuntarily.

 

AA 072, 074-075.

 

 

 

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PLAINTIFF’S SEPARATE STATEMENT OF GENUINE ISSUES OF MATERIAL FACT
AND SUPPORTING EVIDENCE

 
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PLAINTIFF'S GENUINE ISSUES OF |

 

- SUPPORTING EVIDENCE...

 

11. Steven Benhayon was terminated _

as part of a reduction in force.

AA 072,074-075..

 

12. Steven Benhayon was terminated

for “restructuring.”

AA 072, 074-075.

 

13. The WAP does not address a

participant’s termination without cause.

SAA 056 through SAA 072; AA 010
through AA 028; AA 030 through AA
047.

 

 

 

 

 

 

April 7, 2008 to address the vesting of
Steven Benhayon’s WAP benefits.

 

14. The WAP does not address how a | SAA 056 through SAA 072; AA 010

participant’s WAP account benefits vest | through AA 028; AA 030 through AA

upon termination without cause. 047.

15. The WAP does not address how a | SAA 056 through SAA 072; AA 010

participant’s WAP account benefits are | through AA 028; AA 030 through AA

to be distributed upon termination 047.

without cause.

16. The 2006 WAP lacks an AA 033.

integration clause.

17. The 2007 WAP lacks an AA 103.

integration clause.

18. The WAP does not define the term | SAA 056 through SAA 072; AA 010

“restructuring.” through AA 028; AA 030 through AA
047.

19. The WAP Committee met on AA 303.

 

 

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PLAINTIFF’S SEPARATE STATEMENT OF GENUINE ISSUES OF MATERIAL FACT
AND SUPPORTING EVIDENCE

 

 
 

  
  

  

 

  

  

 

 

 

 

 
  

 

 

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1 ||| PLAENTIFF’S GENUINE ISSUES OF | SUPPORTING EVIDENCE
3 “MATERIAL ESCE ul o Se nt
3|||20. ‘The WAP was not an unfunded | SAA 056 through SAA 072, AA 010
4 ||| plan. through AA 028; AA 030 through AA
5 047.
6
7
‘ DATED: August 5, 2009 BOHM, MATSEN GEL & AGUILERA, LLP
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10 By: a
Kari M. ron
11 Matthew J} Salcedo,
2 Attorneys for Plaintiff STEVEN
BENHAYON
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PLAINTIFF’S SEPARATE STATEMENT OF GENUINE ISSUES OF MATERIAL FACT
AND SUPPORTING EVIDENCE

 

 

 
